                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA




ARTHUR S. ROBINSON and ALLAN              )
BEISWENGER,                               )
                                          )
                          Plaintiffs,     )
                                          )
            vs.                           )
                                          )
FAEGRE BAKER DANIELS, LLP,                )
                                          )            No. 3:13-cv-0086-HRH
                          Defendant.      )
__________________________________________)



                                      ORDER

                            Motion to Compel Arbitration;
                            Motions for Summary Judgment

      Defendant moves for summary judgment on plaintiffs’ complaint for the

appointment of arbitrators.1 This motion is opposed2, and plaintiffs’ cross-move for an

order compelling the appointment of arbitrators.3 Plaintiffs’ cross-motion, entitled a




      1
          Docket No. 18.
      2
          Docket No. 27.
      3
          Docket No. 21.

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motion to compel arbitration, is opposed.4 In addition, plaintiffs have filed a motion for

summary judgment in the event that the court does not order arbitration,5 in which they

request summary judgment on the contract claims that they contend are subject to

arbitration. This motion is opposed.6 Oral argument was not requested on any of the

pending motions and is not deemed necessary.

                                             Facts

       Plaintiffs are Arthur Robinson and Allan Beiswenger. Defendant is Faegre Baker

Daniels LLP.

       Plaintiffs were two of the principals in the law firm of Robinson, Beiswenger, and

Ehrhardt (RB&E). In June 1992, RB&E entered into a fee division modification agreement

(referred to herein as the “Fee Agreement”) with defendant’s predecessor, Faegre & Benson

(F&B).7 The Fee Agreement “concern[s] the division of attorney’s fees and payments of

costs in the ‘Glacier Bay’ oil spill case ... and the ‘Exxon Valdez’ oil spill case....”8 The Fee

Agreement’s “Association” clause provides that


       4
           Docket No. 26.
       5
           Docket No. 28.
       6
           Docket No. 31.
       7
       Exhibit A, Declaration of James E. Torgerson [etc.], Docket No. 19. The Fee
Agreement superseded two earlier agreements between the parties. See Exhibits B and C,
Torgerson Declaration, Docket No. 19.
       8
           Fee Agreement at 1, Exhibit A, Torgerson Declaration, Docket No. 19.

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                  RB&E has retained the services of F&B to assist in the represen-
                  tation of clients in the Glacier Bay case and the Exxon case. The
                  relationship between F&B and RB&E, and the division of fees
                  herein are governed by Alaska Bar Rule 35(e), concerning fee
                  division between attorneys and Alaska Rule of Civil Procedure
                  81, and the ethics opinions adopted thereunder.[ 9]

       Paragraph 4 of the Fee Agreement sets forth the parties’ agreement as to “Glacier

Bay Fees” and Paragraph 5 of the Fee Agreement sets forth the parties’ agreement as to

“Exxon Fees.”10 Only the division of “Exxon Fees” in Paragraph 5 is at issue here.

       Paragraph 5(a) is entitled “Fee Division.”               Paragraph 5(a)(i) provides that

“[a]ttorney’s fees for all claims, except those set forth in section (a)(ii) of this paragraph,

shall be divided on the basis of 70% to F&B and 30% to RB&E of the contingent fees

collected from the client.”11 Paragraph 5(a)(ii) provides:

                  All fees for claims originated by firms other than RB&E or F&B
                  and referred to either firm for representation after April 15,
                  1992, shall be divided (from the allocated share of fees paid to
                  F&B by other firms) on the basis of 90% to F&B, 10% to RB&E.
                  However, any and all Upper Cook Inlet set and drift net claims
                  so referred shall not be subject to this division and are subject
                  to the division of fees set forth in paragraph 5, section (a)(i)[.12]




       9
           Id.
       10
            Id. at 3.
       11
            Id.
       12
            Id.

                                                   -3-



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Paragraph 5(a)(iii) provides that “[a]ll hourly fees paid to both firms from the Exxon case

management fee structure approved by the court or from any other source shall be

allocated on the same basis, 70% F&B, 30% RB&E.”13

       Paragraph 5(b) is entitled “Other Claims.”14 Paragraph 5(b) provides that “[a]ll

Exxon related claims of any type whether initiated by RB&E, F&B or other firms, arising

out of the Exxon litigation shall be subject to this Fee Agreement.”15

       The Fee Agreement contains a severability clause that provides that “[i]f any clause,

or provision herein contained shall be adjudged to be invalid, it shall not affect the validity

of any other clause or provision of this agreement or constitute any cause of action in favor

of either party as against the other.”16 The Fee Agreement also contains a “governing law”

clause which provides that the “agreement shall be construed and interpreted in

accordance with, and governed and enforced in all respects by, the laws of the State of

Alaska and the Alaska Bar Rules.”17 And, the Fee Agreement contains a arbitration clause

that provides:




       13
            Id. at 4.
       14
            Id.
       15
            Id.
       16
            Id. at 5-6.
       17
            Id. at 6.

                                              -4-



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                  Any controversy or claim arising out of or relating to this
                  Agreement, or breach thereof, shall be settled by arbitration in
                  accordance with the rules of the Alaska Bar Association.
                  Judgment upon the award rendered by the arbitrator may be
                  entered in any court having jurisdiction thereof.[18]

       Under the terms of the Fee Agreement, F&B has paid RB&E $9,509,424.16 in Exxon

fees between December 2002 and December 2011.19

       Several months prior to RB&E and F&B entering into the Fee Agreement, the court,

in the Exxon Valdez case, entered an order establishing the Consolidated Case Fund, which

became known as the 3% Fund.20 The 3% Fund was created “to compensate counsel

appointed by the courts pursuant to the orders of December 22, 1989, as well as counsel

performing administrative and substantive tasks at the direction of Co-Lead Counsel or the

Case Management Team.”21 The compensation order provided that “[t]hree percent of any

recovery received by any plaintiff, individually or as a member of a certified class, whether

by judgment, settlement or otherwise, after February 14, 1991, shall be contributed to” the

3% Fund.22 The compensation order further provided that



       18
            Id.
       19
            Exhibit Q, Torgerson Declaration, Docket No. 19.
       20
            A copy of the order is attached as Exhibit D to the Torgerson Declaration at Docket
No. 19.
       21
            Exhibit D at 1-2, Torgerson Declaration, Docket No. 19.
       22
            Id. at 2.

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                 [c]ounsel who are active members of the CMT or who perform
                 administrative and/or other tasks benefitting the combined
                 plaintiffs at the request or direction of Co-Lead Counsel or the
                 CMT may apply for compensation from the [3%] Fund,
                 whether or not said counsel are also applying for compensa-
                 tion from the Class Action Attorneys Fee Fund or being paid
                 by their individual clients pursuant to engagement agree-
                 ments.[23]

The compensation order also established a Fee Committee of five attorneys who were

charged with “monitor[ing] all plaintiffs attorneys hours, disbursements and fee

investments (calculated by the lodestar method)....”24

      In April 2009, plaintiffs’ lead counsel and All Plaintiffs’ Fee Committee in the Exxon

Valdez case moved for allocation of the 3% Fund.25 In that motion, the Fee Committee

proposed distributing $38,500 of the 3% Fund off the top to three firms and then dividing

the remainder of the 3% Fund among 22 firms on a percentage basis.26 The Fee Committee

proposed that F&B would receive 14.868415% of the 3% Fund.27 The Fee Committee’s

proposal included no distribution to RB&E because it had not characterized any of the time




      23
           Id.
      24
           Id. at 4.
      25
           A copy of the motion is attached as Exhibit N to the Torgerson Declaration, Docket
No. 19.
      26
           Exhibit N at 9, Torgerson Declaration, Docket No. 19.
      27
           Id. at 10.

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it submitted to the Fee Committee as “P” time.28 “P” time was “for work claimed by

counsel to be for case management activity or for work done at the request of Lead Counsel

or the Executive Committee that benefitted both class and direct action claimants....”29 At

no time prior to the allocation motion being filed did RB&E object to the Fee Committee’s

proposal that it not receive any portion of the 3% Fund.

       On November 6, 2009, the court issued an “Order for Allocation and Partial

Distribution of the 3% Fund.”30 The court ordered that 15% of the 3% Fund be reserved

because three firms had raised objections to the proposed allocation and those objections

had yet to be resolved.31 RB&E was not one of the three firms. The court ordered that the

remaining 85% of the 3% Fund be distributed to the 22 law firms,32 with F&B’s percentage




       28
          Declaration of Matthew D. Jamin (April 30, 2009) at 15, ¶ 35, Exhibit L, Torgerson
Declaration, Docket No. 19. It was probably not surprising that RB&E did not submit any
“P” time because RB&E was a “direct-action firm” and “was not assigned roles on behalf
of all plaintiffs[.]” Declaration of Matthew D. Jamin (October 30, 2013) at 2, ¶ 6, Docket No.
20.
       29
       April 30, 2009 Jamin Declaration at 7, ¶ 13, Exhibit L, Torgerson Declaration,
Docket No. 19.
       30
            A copy of the order is attached as Exhibit O to the Torgerson Declaration, Docket
No. 19.
       31
            Exhibit O at 9, Torgerson Declaration, Docket No. 19.
       32
            Id.

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set at 14.749988%.33 After the disputes with the three objecting law firms were resolved,

the court issued a final disbursement order on February 22, 2011.34 Under the final order,

F&B received 14.64136% of the remaining funds in the 3% Fund.35

       On June 1, 2011, Beiswenger wrote to Brian O’Neill of F&B advising that he

“believe[d] that the funds received by F&B from the case management pool should be

subject to the 70%/30% division that is provided for” in Paragraph 5(a)(iii) of the Fee

Agreement.36 Beiswenger stated that “[s]ince we have not previously discussed this, we

wanted to bring this to your attention and get your thoughts on the matter.”37

       O’Neill responded to Beiswenger on June 17, 2011.38 He stated that it was F&B’s

view that this court had already resolved issues relating to the Fund’s allocation, a process

in which Beiswenger had chosen not to participate.39 O’Neill explained that it was F&B’s




       33
            Id. at 9-10.
       34
            A copy of the order is attached as Exhibit P to the Torgerson Declaration, Docket
No. 19.
       35
       Exhibit P at 3, Torgerson Declaration, Docket No. 19. Plaintiffs allege that F&B and
defendant “collected at least $5,114,904.18 from the 3% Fund.” Complaint [etc.] at 2, ¶ 4,
Docket No. 1.
       36
            Exhibit R at 1, Torgerson Declaration, Docket No. 19.
       37
            Id.
       38
            Exhibit S, Torgerson Declaration, Docket No. 19.
       39
            Id. at 1.

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view that the Fee Agreement only applied to hourly fees and “that the Fund was not

allocated on an ‘hourly’ fee basis.”40 He also stated that case law “establishes that courts

are not bound by fee allocation letters, particularly in situations where one firm’s

contributions greatly exceed the allocation percentages, which is plainly the case here.”41

       On August 21, 2012, Robinson submitted a demand for fees to defendant, requesting

“the payment of our[42] full share of attorneys fees under our fee division agreement which

includes a 70%/30% division of any fees received by F&B from any source. We contend

that F&B owes us 30% of any fees it received from the attorney’s fee pool in the Exxon

case.”43

       On September 13, 2012, defendant “reject[ed] [Robinson’s] demand in its entirety”

because “Faegre has fully complied with the Fee Division Modification Agreement and all

other obligations related to the Exxon litigation. Faegre has paid to you all that was owed

to you, and we don’t intend to pay anything more.”44


       40
            Id. at 2.
       41
            Id.
       42
        The third named partner of RB&E, Peter Ehrhardt, after receiving a copy of the
demand letter, informed Robinson that he was “opposed to this course of action” and
requested that Robinson not make any references that implied that Robinson represented
his (Ehrhardt’s) interests. Exhibit U at 1, Torgerson Declaration, Docket No. 19.
       43
            Exhibit T at 1, Torgerson Declaration, Docket No. 19.
       44
            Letter from William R. Busch, Faegre Baker Daniels LLP, to Arthur S. Robinson,
                                                                             (continued...)

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       On May 24, 2013, plaintiffs commenced this action by filing a complaint entitled

“Complaint for Appointment of Arbitrators Pursuant to Alaska Statute 09.43.030.”45

Plaintiffs allege that they are seeking enforcement of the arbitration clause in the Fee

Agreement.46 Plaintiffs allege that the issue of whether they, “as successors of RB&E”, are

entitled to 30% of the monies that F&B and defendant have collected from the 3% Fund is

an “arbitrable dispute.”47 Plaintiffs allege that “[a]t the arbitration”, they “intend to pursue

claims against [defendant] ... for an accounting, breach of contract, breach of fiduciary

duties, unjust enrichment, and other claims as may be just and proper.”48 In their prayer

for relief, plaintiffs request that

                  the court, in accordance with AS 09.43.030, and the arbitration
                  clause in the parties’ Fee Division Modification Agreement,
                  order arbitration of the parties’ dispute, and appoint and order
                  compensation for three arbitrators (two attorneys, including an
                  attorney chair, and one layperson) from the list of arbitrators
                  provided by the Alaska Bar Association....[49]




       44
       (...continued)
Robinson & Associates, at 1, Exhibit V, Torgerson Declaration, Docket No. 19.
       45
            Docket No. 1.
       46
            Id. at 2, ¶ 4.
       47
            Id.
       48
            Id. at 8, ¶ 26.
       49
            Id. at 9-10.

                                                -10-



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       Plaintiffs and defendant now cross-move for summary judgment on plaintiffs’ single

claim seeking an order compelling arbitration. Plaintiffs also move for summary judgment

on their contract claims should the court not order arbitration.

                                         Discussion

       Summary judgment is appropriate when there are no genuine issues of material fact

and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c). The

initial burden is on the moving party to show that there is an absence of genuine issues of

material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). If the moving party meets

its initial burden, then the non-moving party must set forth specific facts showing that there

is a genuine issue for trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). In

deciding a motion for summary judgment, the court views the evidence of the non-movant

in the light most favorable to that party, and all justifiable inferences are also to be drawn

in its favor. Id. at 255. “[T]he court’s ultimate inquiry is to determine whether the ‘specific

facts’ set forth by the nonmoving party, coupled with undisputed background or

contextual facts, are such that a rational or reasonable jury might return a verdict in its

favor based on that evidence.” T.W. Elec. Service, Inc. v. Pacific Elec. Contractors Ass’n,

809 F.2d 626, 631 (9th Cir. 1987).

       “A dispute is arbitrable under federal law if the agreement ‘creates a duty for the

parties to arbitrate the particular’ dispute.” Lexington Marketing Group, Inc. v. Goldbelt



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Eagle, LLC, 157 P.3d 470, 473 (Alaska 2007) (quoting AT & T Techs., Inc. v. Commc’ns

Workers of Am., 475 U.S. 643, 649 (1986)). “Alaska state law mirrors federal law and

provides that courts are the proper forum to determine whether a dispute is arbitrable.”

Id. Under Alaska law, “[a] written agreement to submit an existing controversy to

arbitration or a provision in a written contract to submit to arbitration a subsequent

controversy between the parties is valid, enforceable, and irrevocable, except upon grounds

that exist at law or in equity for the revocation of a contract.” AS 09.43.010(a).

       Defendant first argues that the arbitration clause is unenforceable because the Exxon

Valdez litigation was a class action and thus the principles governing allocation of

attorney’s fees in class actions apply here. “In class actions, the district court has broad

authority over awards of attorneys’ fees[.]” In re FPI/Agretech Securities Litig., 105 F.3d

469, 472 (9th Cir. 1997). Fees in a class action “derive from principles of equity, not

contract.” Id. at 474.

              [A] litigant or a lawyer who recovers a common fund for the
              benefit of persons other than himself or his client is entitled to
              a reasonable attorney’s fee from the fund as a whole. The
              common-fund doctrine reflects the traditional practice in courts
              of equity, and it stands as a well-recognized exception to the
              general principle that requires every litigant to bear his own
              attorney’s fees[.] The doctrine rests on the perception that
              persons who obtain the benefit of a lawsuit without contribut-
              ing to its cost are unjustly enriched at the successful litigant’s
              expense. Jurisdiction over the fund involved in the litigation
              allows a court to prevent this inequity by assessing attorney’s



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              fees against the entire fund, thus spreading fees proportion-
              ately among those benefitted by the suit.

Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980) (internal citations omitted). In class

actions, “[d]istrict courts may refuse to accept a fee allocation agreement whenever there

is good cause to do so.” In re FPI/Agretech Securities Litig., 105 F.3d at 473. For example,

“a court may reject a fee allocation agreement where it finds that the agreement rewards

an attorney in disproportion to the benefits that attorney conferred upon the class—even

if the allocation in fact has no impact on the class.” Id.; see also, Allapattah Srvcs., Inc. v.

Exxon Corp., 454 F. Supp. 2d 1185, 1227 (S.D. Fla. 2006) (declining to enforce fee allocation

agreement because it would “result in a grossly disproportionate award among the five law

firms in relation to services actually rendered, and benefits bestowed on the class”).

       Defendant argues that in this case plaintiffs are seeking attorney’s fees from the 3%

Fund that are grossly disproportionate to the value of the services RB&E provided for the

benefit of all Exxon Valdez plaintiffs. Thus, defendant contends that plaintiffs’ reliance on

the Fee Agreement for its claim to a substantial share of the 3% Fund is inconsistent with

the equitable principles applicable to the court’s allocation of common funds. Defendant

also emphasizes the fact that the court has already determined in its Allocation Order that

F&B made substantial contributions to the litigation for the benefit of the class and that

RB&E did not make any contributions for the benefit of the class. Defendant argues that

this decision by the court should be given collateral estoppel effect and plaintiffs should


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not be allowed to disturb the allocations of the 3% Fund that the court has already made.

In short, defendant argues that plaintiffs’ request to arbitrate their rights to any portion of

the 3% Fund is an inappropriate attempt to circumvent the court’s exclusive authority to

determine fee allocations as to the 3% Fund.

       “Alaska’s arbitration law closely follows federal arbitration law, and federal law has

clarified that arbitration clauses are severable from the underlying contracts for purposes

of challenges to the validity of the underlying agreement. Determinations as to the validity

of the underlying contract are a matter for the arbitrator to decide.” Lexington Mktg.

Group, 157 P.3d at 477. “[C]ourts may consider challenges of illegality to arbitration

agreements but not to the underlying contracts.” Id. at 475.

       What defendant is arguing here is that the court should not enforce the Fee

Agreement as it pertains to any fees related to the 3% Fund because enforcing the Fee

Agreement could result in plaintiffs receiving over $1 million in attorney’s fees from the

3% Fund even though RB&E did no work that benefitted the class. This argument,

however, has nothing to do with whether plaintiffs’ contract claims are subject to

arbitration. Defendant’s argument does not go to the question of whether the arbitration

clause is enforceable, but rather is an argument that the Fee Agreement is unenforceable,

if it requires that fees be divided as plaintiffs contend. At this juncture, the court can only




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determine the enforceability of the arbitration clause; it cannot consider whether the rest

of the Fee Agreement is enforceable or not.

       Defendant next argues that plaintiffs are prohibited from receiving a portion of

F&B’s payments from the 3% Fund because the Fee Agreement is subject to Alaska Bar

Rule 35(e). Alaska Bar Rule 35(e) provides:

              A division of fees between attorneys who are not in the same
              law firm may be made only if:

              (1) the division is in proportion to the services performed by
              each attorney or, by written agreement with the client, each
              attorney assumes joint responsibility for the representation;

              (2) the client is advised of and does not object to the participa-
              tion of all the attorneys involved; and

              (3) the total fee is reasonable.

Defendant argues that any division between F&B and RB&E of F&B’s payments from the

3% Fund would have to be “in proportion to the services performed by each attorney”

because F&B and RB&E did not have written agreements with each class plaintiff. Because

the court has already allocated the 3% Fund based on the contributions of the attorneys

involved in case management and did not award RB&E any funds, defendant contends that

RB&E is stuck with that allocation. Defendant argues that at a minimum, in order to ensure

that the class plaintiffs were adequately protected, any fee-splitting agreement affecting the




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common fund should have been brought to the specific attention of the court and approved

by the court before allocations from the 3% Fund were made.

       As with defendant’s first argument, this argument too goes to the merits of

plaintiffs’ claims, which are based on a contention that, pursuant to Paragraph 5(a)(iii) of

the Fee Agreement, they are entitled to a portion of the fees that F&B collected from the 3%

Fund. This argument is not directed at the issue that is before the court, which is whether

plaintiffs’ contract claims are subject to arbitration. Defendant’s Alaska Bar Rule 35(e)

argument may be an argument that the arbitrator(s) can consider, but it is not an argument

that the court can consider in deciding whether plaintiffs’ contract claims are subject to

arbitration.

       Defendant next argues that the parties did not agree to arbitrate any claims relating

to the 3% Fund. “Because arbitration is a matter of contract, parties can only be compelled

to arbitrate a matter where they have agreed to do so.” Lexington Mktg. Group, 157 P.3d

at 477. “[T]he court must interpret the arbitration clause to determine whether it extends

to the dispute at issue.” Id. at 475 n.27. The arbitration clause in the Fee Agreement

provides that “[a]ny controversy or claim arising out of or related to this Agreement, or

breach thereof, shall be settled by arbitration....”50 The scope of such an arbitration clause

is “quite broad.” Johnson v. Aleut Corp., 307 P.3d 942, 950 (Alaska 2013).



       50
            Fee Agreement at 6, Exhibit A, Torgerson Declaration, Docket No. 19.

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       But, defendant argues that it is not broad enough to encompass plaintiffs’ claim that

they are entitled to 30% of F&B’s share of the 3% Fund. Defendant argues that the

payments F&B received from the 3% Fund are not subject to the Fee Agreement and thus

do not “arise out of or relate to” the Agreement. Defendant argues that the Fee Agreement

only calls for the division of “contingent fees collected from the client” and “hourly fees

paid to both firms from the Exxon case management fee structure approved by the

court....”51 And, defendant argues that F&B’s payments from the 3% Fund do not fall into

either of these categories.

       First, defendant argues that the 3% Fund payments were not “contingent fees”

collected from F&B and RB&E’s direct action clients. Rather, defendant contends the

payments were to compensate F&B for its work on the CMT and for its performance of

administrative and other tasks that benefitted All Plaintiffs. Second, defendant argues that

the payments from the 3% Fund were not “hourly fees paid to both firms from the Exxon

case management structure approved by the court” because the 3% Fund was not linked

to “hourly fees.” Defendant contends that disbursements from the 3% Fund did not

involve compensation of counsel on the basis of the recipients’ hourly rates multiplied by

the time they spent on the litigation. Rather, defendant contends that certain firms were

awarded a percentage of the 3% Fund based on equitable factors, although the court would



       51
            Fee Agreement at 4, ¶ 5(a), Exhibit A, Torgerson Declaration, Docket No. 19.

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note that the number of hours the firms devoted to work that benefitted the class was the

starting point for determining the percentages.

      Defendant also argues that Fee Agreement’s drafting history supports its contention

that payments from the 3% Fund are not covered by the Fee Agreement. Paragraph 5(a)(iii)

of the Fee Agreement provides that “[a]ll hourly fees paid to both firms from the Exxon

case management structure approved by the court or from any other source shall be

allocated on the same basis, 70% F&B, 30% RB&E.”52 Defendant contends that F&B and

RB&E included this paragraph in the Fee Agreement due to a concern that the court could

impose a lodestar structure on direct-action attorneys, which could have then voided F&B’s

and RB&E’s individual fee agreements with their direct-action clients. As proof of this,

defendant cites to O’Neill’s June 2011 letter to Beiswenger, in which O’Neill stated that

“[t]he purpose of this provision was to take care of possible imposition by the class of a

lodestar structure on direct action lawyers, voiding our client fee agreements. This was a

serious concern at the time, and was something the district court could have done.”53

      The foregoing all has to do with how the 3% Fund was allocated and little to nothing

to do with the question of whether plaintiffs’ contract claims are subject to arbitration.

Defendant’s argument that the 3% Fund is not covered by the Fee Agreement goes to the


      52
           Fee Agreement at 3-4, ¶ 5(a)(iii), Exhibit A, Torgerson Declaration, Docket No. 19.
      53
           Letter from O’Neill to Beiswenger at 2, Exhibit S, Torgerson Declaration, Docket
No. 19.

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merits of plaintiffs’ underlying claims, rather than to the question of whether those claims

are subject to arbitration.

       As to that question, the arbitration clause in the Fee Agreement provides that all

claims and controversies arising out or related to the Fee Agreement are subject to

arbitration. Plaintiffs’ claims, which are based on their contention that the Exxon fee

division provisions in the Fee Agreement entitle them to a percentage of F&B’s share of the

3% Fund, fall within the scope of this clause. Arbitrating these claims will not “limit ... the

exercise of a court’s inherent judicial function,” as defendant suggests. Calif. Trucking

Ass’n v. Brotherhood of Teamsters & Auto Truck Drivers, Local 70, 679 F.2d 1275, 1283 (9th

Cir. 1981). Having an arbitrator determine what RB&E’s and F&B’s private agreement was

intended to mean and how it applies between them in no way interferes with the court’s

authority to allocate the 3% Fund. Plaintiffs’ call for arbitration does not involve a review

of the allocation determination made by the court.          Rather, plaintiffs seek to have

arbitrators decide whether the Fee Agreement provided that RB&E would be entitled to

a portion of the fees that the court allocated to F&B out of the 3% Fund.

       Finally, defendant argues that plaintiffs are not entitled to an order compelling

arbitration because the arbitration clause is unenforceable due to impossibility. Under

Alaska law, impossibility of performance discharges a party from performance under the




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contract. N. Corp. v. Chugach Elec. Ass’n, 518 P.2d 76, 80 (Alaska 1974), vacated on other

grounds by 523 P.2d 1243 (Alaska 1974).

       The arbitration clause provides that controversies and claims arising out of or

related to the Fee Agreement “shall be settled by arbitration in accordance with the rules

of the Alaska Bar Association.”54 The Alaska Bar Association, pursuant to its policy “to

encourage the amicable resolution of fee disputes between attorneys and their clients” has

established a “Fee Dispute Resolution Program ... for the arbitration of disputes concerning

any and all fees paid, charged, or claimed for professional services by attorneys.”55

       Defendant argues that the arbitration procedures established by the Alaska Bar

Association apply only to fee disputes between attorneys and their clients. Since this is not

a fee dispute between an attorney and a client, defendant argues that it would be

impossible to arbitrate the parties’ dispute under the rules of the Alaska Bar Association.

       Plaintiffs concede that the Alaska Bar Association Fee Dispute Resolution rules do

not apply because their complaint expressly seeks arbitration pursuant to AS 09.43.030.

Based on that statute, plaintiffs argue that arbitration clause is enforceable even if the

Alaska Bar Association cannot hear fee disputes between attorneys. AS 09.43.030 provides:

                 If the arbitration agreement provides a method of appointment
                 of arbitrators, this method shall be followed. If no method of


       54
            Fee Agreement at 6, Exhibit A, Torgerson Declaration, Docket No. 19.
       55
            Alaska Bar Rule 34(a).

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              appointment is provided, or if the agreed method fails or for
              any reason cannot be followed, or when before the hearing an
              arbitrator appointed fails or is unable to act and a successor has
              not been appointed, the court on application of a party shall
              appoint one or more arbitrators. An arbitrator so appointed
              has all the powers of one specifically named in the agreement.

       The Alaska Supreme Court has never construed AS 09.43.030, but this provision is

similar to § 5 of the Federal Arbitration Act (FAA). Section 5 of the FAA provides:

              If in the agreement provision be made for a method of naming
              or appointing an arbitrator or arbitrators or an umpire, such
              method shall be followed; but if no method be provided
              therein, or if a method be provided and any party thereto shall
              fail to avail himself of such method, or if for any other reason
              there shall be a lapse in the naming of an arbitrator or arbitra-
              tors or umpire, or in filling a vacancy, then upon the applica-
              tion of either party to the controversy the court shall designate
              and appoint an arbitrator or arbitrators or umpire, as the case
              may require, who shall act under the said agreement with the
              same force and effect as if he or they had been specifically
              named therein; and unless otherwise provided in the agree-
              ment the arbitration shall be by a single arbitrator.

9 U.S.C. § 5. In Reddam v. KPMG LLP, 457 F.3d 1054, 1057 (9th Cir. 2006), abrogated on

other grounds as recognized by Atlantic Nat’l Trust LLC v. Mt. Hawley Ins. Co., 621 F.3d

931, 940 (9th Cir. 2010)), the arbitration clause provided that “[a]ny arbitration under this

agreement shall be determined pursuant to the rules then in effect of the National

Association of Securities Dealers, Inc.” The NASD refused to take jurisdiction over the

arbitration because “no named party was a member or associated person of the NASD.”

Id. The defendants argued that the court should exercise its authority under 9 U.S.C. § 5


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to appoint a substitute arbitrator. The district court however held that the claims were no

longer subject to arbitration because the NASD would not hear them. Id. The court of

appeals reversed, holding that the arbitration clause did not become “unenforceable

between the parties when the NASD bowed out. There is no evidence that naming of the

NASD was so central to the arbitration agreement that the unavailability of that arbitrator

brought the agreement to an end.” Id. at 1061. The court compared its decision to its

“approach to forum selection clauses which choose a particular court as the litigation arena.

There we have not treated the selection of a specific forum as exclusive of all other fora,

unless the parties have expressly stated that it was.” Id.

       Similarly here, the arbitration clause is not unenforceable.        The Alaska Bar

Association Fee Dispute Resolution procedures cannot apply to this fee dispute between

two law firms, which means the parties’ agreed upon method of arbitration has failed. But,

that does not render performance under the arbitration clause impossible. Rather, it means

that this case is governed by AS 09.43.030. Pursuant to AS 09.43.030, the court can appoint

one or more arbitrators to hear the parties’ dispute. Contrary to plaintiffs’ contention,

however, the arbitrators do not have to be appointed from the Alaska Bar Association list

of arbitrators, which plaintiffs have attached to their complaint as Exhibit 4. Rather,

pursuant to AS 09.43.030, the court “shall appoint one or more arbitrators” based on the

parties’ application(s) for such an appointment.        In sum, the arbitration clause is



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enforceable, and plaintiffs’ motion to compel arbitration pursuant to AS 09.43.030 is

granted.

                                        Conclusion

       Based on the foregoing, defendant’s motion for summary judgment56 is denied.

Plaintiffs’ motion to compel arbitration57 is granted. Plaintiffs’ cross-motion for summary

judgment58 is denied as moot.

       The court will entertain the parties’ applications for the appointment of one or more

arbitrators pursuant to the Alaska Uniform Arbitration Act, AS 09.43.10-.180. Applications

for the appointment of one or more arbitrators shall be filed on or before April 16, 2014.

       DATED at Anchorage, Alaska, this 26th day of March, 2014.

                                                   /s/ H. Russel Holland
                                                   United States District Judge




       56
            Docket No. 18.
       57
            Docket No. 21.
       58
            Docket No. 28.

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